                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

 UNITED STATES OF AMERICA                       )       MATTICE/CARTER
                                                )
        v.                                      )       CASE NO. 4:10-CR-28
                                                )
 JODY TUCKER                                    )



                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on January 13,

 2011. At the hearing, defendant entered a plea of guilty to the lesser included offense in Count

 One of the Indictment, conspiracy to manufacture, distribute, and possess with the intent to

 distribute five (5) grams or more of methamphetamine (actual) and fifty (50) grams or more of a

 mixture and substance containing a detectable amount of methamphetamine, a Schedule II

 controlled substance, in violation of 21 USC §§ 846 and 841(b)(1)(B), in exchange for the

 undertakings made by the government in the written plea agreement. On the basis of the record

 made at the hearing, I find that the defendant is fully capable and competent to enter an informed

 plea; that the plea is made knowingly and with full understanding of each of the rights waived by

 defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

 promises in the plea agreement; that the defendant understands the nature of the charge and

 penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment, and that the


                                                    1



Case 4:10-cr-00028-TRM-CHS            Document 125         Filed 01/14/11       Page 1 of 2      PageID
                                            #: 315
 written plea agreement be accepted at the time of sentencing. I further recommend, based on a

 finding of exceptional circumstances, that defendant shall remain on bond pending sentencing in

 this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

 imposition of sentence are specifically reserved for the district judge.

        The defendant’s sentencing date is scheduled for Monday, April 18, 2011, at 9:00 am.



                                                s/William B. Mitchell Carter
                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




                                                   2



Case 4:10-cr-00028-TRM-CHS            Document 125         Filed 01/14/11     Page 2 of 2      PageID
                                            #: 316
